                       Case 2:15-cr-00115-TLN Document 105 Filed 07/29/16 Page 1 of 10
AO 245B-CAED(Rev. 09/2011) Sheet 1 - Amended Judgment in a Criminal Case       (NOTE: Identify Changes with Asterisks*)



                              UNITED STATES DISTRICT COURT
                                                   Eastern District of California
                UNITED STATES OF AMERICA                                     SECOND AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                             (For Offenses Committed On or After November 1, 1987)
                            v.
                        LEE YANG                                             Case Number: 2:15CR00115-06
                                                                             Defendant's Attorney: David Fischer, Appointed
 Date of Original Judgment:              May 19, 2016
 (Or Date of Last Amended Judgment)

Reason for Amendment:
   Correction of Sentence on Remand (Fed R. Crim. P. 35(a))                   Modification of Supervision Conditions (18 U.S.C. § 3563(c) or 3583(e))
                                                                              Modification of Imposed Term of Imprisonment for Extraordinary and
   Reduction of Sentence for Changed Circumstances (Fed R. Crim. P. 35(b))
                                                                              Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                              Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
   Correction of Sentence by Sentencing Court (Fed R. Crim. P. 35(c))
                                                                              to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
   Correction of Sentence for Clerical Mistake (Fed R. Crim. P. 36)           Direct Motion to District Court Pursuant to   28 U.S.C. §2255,
                                                                                   18 U.S.C. §3559(c)(7),    Modification of Restitution Order
THE DEFENDANT:
     pleaded guilty to count 1 of the Indictment.
     pleaded nolo contendere to count(s)      which was accepted by the court.
     was found guilty on count(s)     after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense (s):
                                                                                                                  Date Offense           Count
Title & Section                          Nature Of Offense
                                                                                                                  Concluded              Number
                                         Conspiracy to Committ Access Device Fraud
18 U.S.C. § 1029(b)(2)                                                                                            4/2015                 1
                                         (Class D Felony)

       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

     The defendant has been found not guilty on count(s)      and is discharged as to such count(s).
     Counts 2 - 5 are dismissed on the motion of the United States.
     Indictment is to be dismissed by District Court on motion of the United States.
     Appeal rights given.                              Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution or fine, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.
                                                                             7/19/2016
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judicial Officer
                                                                             Troy L. Nunley, United States District Judge
                                                                             Name & Title of Judicial Officer
                                                                             7/29/2016
                                                                             Date
                     Case 2:15-cr-00115-TLN Document 105 Filed 07/29/16 Page 2 of 10
AO 245B-CAED(Rev. 09/2011) Sheet 2 - Imprisonment
DEFENDANT:LEE YANG                                                                                                              Page 2 of 6
CASE NUMBER:2:15CR00115-06

                                                          IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
37 months.

      No TSR: Defendant shall cooperate in the collection of DNA.

      The court makes the following recommendations to the Bureau of Prisons:
      The Court recommends that the defendant be incarcerated in a California facility, but only insofar as this accords with security
      classification and space availability. The Court recommends the defendant participate in the 500-Hour Bureau of Prisons
      Substance Abuse Treatment Program.

      The defendant is remanded to the custody of the United States Marshal.

       The defendant shall surrender to the United States Marshal for this district
              at     on     .
              as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
               before       on    .
               as notified by the United States Marshal.
               as notified by the Probation or Pretrial Services Officer.
       If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
I have executed this judgment as follows:




        Defendant delivered on                                                       to
at                                                  , with a certified copy of this judgment.



                                                                       United States Marshal


                                                                       By Deputy United States Marshal
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AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
DEFENDANT:LEE YANG                                                                                                               Page 3 of 6
CASE NUMBER:2:15CR00115-06

                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
36 months.

The defendant must report to the probation office in the district to which the defendant is released within seventy-two hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two (2) periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
      substance abuse.

      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

      The defendant shall cooperate in the collection of DNA as directed by the probation officer.

      The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
      seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or
      she resides, works, is a student, or was convicted of qualifying offense.

      The defendant shall participate in an approved program for domestic violence.

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                       STANDARD CONDITIONS OF SUPERVISION
1.       The defendant shall not leave the judicial district without permission of the court or probation officer;
2.       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3.       the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4.       the defendant shall support his or her dependents and meet other family responsibilities;
5.       the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
         other acceptable reasons;
6.       the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7.       the defendant shall refrain from excessive use of alcohol;
8.       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9.       the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
         convicted of a felony unless granted permission to do so by the probation officer;
10.      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
         confiscation of any contraband observed in plain view by the probation officer;
11.      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcement officer;
12.      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
         the permission of the court;
13.      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
         criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
         confirm the defendant’s compliance with such notification requirement.
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AO 245B-CAED(Rev. 09/2011) Sheet 3 - Supervised Release
DEFENDANT:LEE YANG                                                                                                                 Page 4 of 6
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                                         SPECIAL CONDITIONS OF SUPERVISION
1.       The defendant shall submit to the search of his person, property, home, and vehicle by a United States probation officer, or
         any other authorized person under the immediate and personal supervision of the probation officer, based upon reasonable
         suspicion, without a search warrant. Failure to submit to a search may be grounds for revocation. The defendant shall warn
         any other residents that the premises may be subject to searches pursuant to this condition.
2.       The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments and any
         anticipated or unexpected financial gains to any unpaid restitution ordered by this Judgment.
3.       The defendant shall provide the probation officer with access to any requested financial information.
4.       The defendant shall not open additional lines of credit without the approval of the probation officer.
5.       As directed by the probation officer, the defendant shall participate in an outpatient correctional treatment program to obtain
         assistance for drug or alcohol abuse.
6.       As directed by the probation officer, the defendant shall participate in a program of testing (i.e. breath, urine, sweat patch,
         etc.) to determine if he has reverted to the use of drugs or alcohol.
7.       As directed by the probation officer, the defendant shall participate in a co-payment plan for treatment or testing and shall
         make payment directly to the vendor under contract with the United States Probation Office of up to $25 per month.
8.       The defendant shall consent to the probation officer and/or probation service representative conducting periodic unannounced
         examinations of (a) any computer, or (b) computer-related device, or (c) equipment that has an internal or external modem
         which is in the possession or control of the defendant. The defendant consents to retrieval and copying of all data from any
         such computer, computer-related device, or equipment as well as any internal or external peripherals to ensure compliance
         with conditions. The defendant consents to removal of such computer, computer-related device, and equipment for purposes
         of conducting a more thorough inspection and analysis.

         The defendant consents to having installed on any computer, computer-related device, and equipment, at the defendant's
         expense, any hardware or software systems to monitor the use of such computer, computer-related device, and equipment at
         the direction of the probation officer, and agrees not to tamper with such hardware or software and not install or use any
         software programs designated to hide, alter, or delete his computer activities. The defendant consents to not installing new
         hardware without the prior approval of the probation officer.
9.       The defendant shall not participate in gambling activities of any kind or enter any establishment where gambling occurs.
10.      The defendant shall participate in a cognitive behavioral treatment program as directed by the probation officer.
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AO 245B-CAED(Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
DEFENDANT:LEE YANG                                                                                                                Page 5 of 6
CASE NUMBER:2:15CR00115-06

                                              CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                       Fine                          Restitution
         TOTALS                                      $100.00                        $Waived                       $200,929.24*
      The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment colunm below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

Name of Payee                                                Total Loss*       Restitution Ordered Priority or Percentage
* SEE ATTACHED LISTS                                         $200,929.24                $200,929.24
Totals                                                       $200,929.24                $200,929.24
      Restitution amount ordered pursuant to plea agreement $

      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalities for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

             The interest requirement is waived for the               fine         restitution

             The interest requirement for the              fine         restitution is modified as follows:


      If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter and payment shall be
      through the Bureau of Prisons Inmate Financial Responsibility Program.

      If incarcerated, payment of the restitution is due during imprisonment at the rate of not less than $25 per quarter and payment
      shall be through the Bureau of Prisons Inmate Financial Responsibility Program.
*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED(Rev. 09/2011) Sheet 6 - Schedule of Payments
DEFENDANT:LEE YANG                                                                                                                  Page 6 of 6
CASE NUMBER:2:15CR00115-06

                                                       SCHEDULE OF PAYMENTS
        Payment of the total fine and other criminal monetary penalties shall be due as follows:

A.               Lump sum payment of $               due immediately, balance due
                          Not later than      , or
                          in accordance               C,        D,        E,or           F below; or
B.               Payment to begin immediately (may be combined with                 C,           D,    or    F below); or

C.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $       over a period of         (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after the date of this judgment; or

D.               Payment in equal    (e.g. weekly, monthly, quarterly) installments of $     over a period of     (e.g. months or
                 years), to commence     (e.g. 30 or 60 days) after release from imprisonment to a term of supervision; or

E.               Payment during the term of supervised release/probation will commence within      (e.g. 30 or 60 days) after release
                 from imprisonment. The court will set the payment plan based on an assessment of the defendants ability to pay at
                 that time; or

F.               Special instructions regarding the payment of crimimal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

         Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate: Defendant shall pay restitution jointly and severally with co-defendants Steven
Khamkeuanekeo in Docket No. 2:12CR00115-01, Kay Lee in Docket No. 2:12CR00115-02, Chee Yang in Docket No. 2:12CR00115-
03, Tou Her in Docket No. 2:12CR00115-04, Frank Her in Docket No. 2:12CR00115-05, and Amy Her in Docket No. 2:12CR00115-
07.

         The defendant shall pay the cost of prosecution.

         The defendant shall pay the following court cost(s):

         The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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ATTACHMENT A-1
RESTITUTION SHALL BE PAID TO:   ADDRESS                                                                   RESTITUTION AMOUNT
Custer, Karen                                                                                                          $700.00
Dillon, Lisa                                                                                                           $723.69
Jimenez, Frances                                                                                                       $344.52
Robbins, Angela                                                                                                         $3,950
Relles, Ross                                                                                                         $2,000.00
Qin, Xiaoli                                                                                                             $46.09
Swafford, Tom                                                                                                          $586.34
Wammack, Jake                                                                                                        $1,000.00
Scott, Susan                                                                                                           $200.00
Hargroves,Eva                                                                                                        $1,782.37
Chao, Kevin                                                                                                          $4,996.10
Pham, Rossy                                                                                                         $12,092.00
Hong, Hillary                                                                                                          $10,006
Target AP Recovery              2200 Northern Blvd Ste 104, Greenvale, NY 11548                                     $20,302.13
Les Schwab                      8301 Elk Grove Florin Rd, Sacramento, CA                                             $1,302.57
A Touch of Understanding        5280 Stirling St, Granite Bay, CA                                                    $1,781.86
Bank of America                 Restitution Unit/MO1-800-06-15, PO Box 790087, St. Louis, MO 63179-0087              $3,613.42
Chase                           PO Box 17055, Wilmington, DE 19886-7055                                              $9,064.98
Bahouth, Mark                                                                                                             $250
Byrnes, Marissa                                                                                                            $30
Curatolo, James                                                                                                           $200
Dean, Iqbal                                                                                                          $1,101.92
Freiheit, Derek                                                                                                        $450.00
Friedman Law Firm               1383 Garden Hwy, Suite 200, Sacramento, CA 95833                                     $3,500.00
Hansen, Elizabeth                                                                                                    $3,865.00
Jaramillo, Bruce                                                                                                       $500.00
Kaur, Damanpreet                                                                                                       $290.00
Wade, James                                                                                                          $3,000.00
Zwanzinger, Joseph                                                                                                     $100.00
Williams, Jenica                                                                                                        $10.00
Sorie, Kaday                                                                                                           $500.00
Olbedring, Jeff                                                                                                      $4,320.00
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Hintz, Kathryn                                                                       $4,000.00
Morcaldi, Julie                                                                      $1,450.00

TOTAL:                                                                              $98,058.99
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ATTACHMENT A-2
RESTITUTION SHALL BE PAID TO:       ADDRESS                                                                   RESTITUTION AMOUNT
Wells Fargo Bank NA                 External Fraud Investigations, PO Box 912038, Denver, CO 80291-2038                   $1,500.00
Schools Financial Credit Union      8848 Calvine Rd Ste 110, Sacramento, CA 95828                                         $7,701.01
American Express                    Box 0001, Los Angeles, CA 90096-8000                                                  $1,351.55
Bank of America                     Restitution Unit/MO1-800-06-15, PO Box 790087, St. Louis, MO 63179-0087               $1,500.00
Wells Fargo Bank NA                 External Fraud Investigations, PO Box 912038, Denver, CO 80291-2038                   $1,704.85
Kohls Credit                        PO Box 3120, Milwaukee, WI 53201-3120                                                 $1,338.72
Wells Fargo Bank NA                 External Fraud Investigations, PO Box 912038, Denver, CO 80291-2038                   $5,875.99
First Northern Bank                 1455 Oliver Road, Fairfield, CA 94534                                                 $1,678.27
Golden One Credit Union             8945 Cal Center Dr, Sacramento, CA 95826                                               $387.31
Kohls Credit                        PO Box 3120, Milwaukee, WI 53201-3120                                                 $1,057.75
Citibank                            14700 Citicorp Dr, bldg 2 floor 1 , Hagerstown, MD 21742                               $100.00
Bank of America                     Restitution Unit/MO1-800-06-15, PO Box 790087, St. Louis, MO 63179-0087               $5,608.45
Bank of America                     Restitution Unit/MO1-800-06-15, PO Box 790087, St. Louis, MO 63179-0087                   $300
Synchrony Bank                      Attn: Fraud, PO Box 8726, Dayton, OH 45482-0278                                         $620.12
Wells Fargo Bank NA                 External Fraud Investigations, PO Box 912038, Denver, CO 80291-2038                    $622.33
Wells Fargo Bank NA                 External Fraud Investigations, PO Box 912038, Denver, CO 80291-2038                   $1,138.57
Citibank                            14700 Citicorp Dr, bldg 2 floor 1 , Hagerstown, MD 21742                                 $6,200
Wells Fargo Bank NA                 External Fraud Investigations, PO Box 912038, Denver, CO 80291-2038                   $1,255.06
Kohls Credit                        PO Box 3120, Milwaukee, WI 53201-3120                                                  $499.40
El Dorado Savings Bank              4040 El Dorado Road, Placerville, CA 95667                                             $497.20
Bank of America                     Restitution Unit/MO1-800-06-15, PO Box 790087, St. Louis, MO 63179-0087               $1,650.00
Wells Fargo Bank NA                 External Fraud Investigations, PO Box 912038, Denver, CO 80291-2038                  $11,100.46
Wells Fargo Bank NA                 External Fraud Investigations, PO Box 912038, Denver, CO 80291-2038                   $1,675.00
Community First Bank                11950 Kemper Road, Auburn, CA 95603                                                    $430.23
Bank of America                     Restitution Unit/MO1-800-06-15, PO Box 790087, St. Louis, MO 63179-0087               $4,186.00
Bank of America                     Restitution Unit/MO1-800-06-15, PO Box 790087, St. Louis, MO 63179-0087               $1,510.00
PayPal                              PO Box 5018, Timonlum, MD 21094                                                           $700
Kohls Credit                        PO Box 3120, Milwaukee, WI 53201-3120                                                    $3,000
Chase                               PO Box 17055, Wilmington, DE 19886-7055                                                  $4,100
Victoria Secret                     PO Box 659728, San Antonio, TX 78265                                                      $600
Bank of America                     Restitution Unit/MO1-800-06-15, PO Box 790087, St. Louis, MO 63179-0087                  $3,898
Synchrony Bank                      Attn: Fraud, PO Box 8726, Dayton, OH 45482-0278                                          $1,029
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United Healthcare                         PO Box 740800, Atlanta, GA 30374                                             $53
Blue Cross Blue Shield                    PO Box 241012, Lodi, CA 95241                                               $269
GE CRB                                    PO Box 530949, Atlanta, GA, 30353                                       $1,047.85
Kroger                                    PO Box 30650, Salt Lake City, UT 84130                                    $316.65
Certegy Check Services                    PO Box 30272, Tampa, FL 33630                                            $125.00
Kohls Credit                              PO Box 3120, Milwaukee, WI 53201-3120                                    $543.85
Merchants Credit Assoc                    PO Box 7416, Bellevue, WA 98008                                            $75.31
US Bank Restitution & Recovery            PO Box 650, Milwaukee, WI 53278                                         $1,050.00
Global Payments Check Services            PO Box 661038, Chicago, IL 60666-1038                                   $2,035.00
Target AP Recovery                        2200 Northern Blvd Ste 104, Greenvale, NY 11548                            $93.93
US Bank Restitution & Recovery            PO Box 650, Milwaukee, WI 53278                                             $262
US Bank Restitution & Recovery            PO Box 650, Milwaukee, WI 53278                                         $1,903.25
Capital One Bank (USA), N.A.              PO Box 85582, Richmond, VA 23260                                        $1,812.02
Golden One Credit Union                   8945 Cal Center Dr, Sacramento, CA 95826                                   $91.33
American Express -- Costco Card Program   PO Box 5190, Pasadena, CA 91117                                          $842.37
American Express                          PO Box 5190, Pasadena, CA 91117                                         $2,062.98
Discover Financial Services               Attn: Restitution, 6500 New Albany Road E, New Albany, OH 43054         $8,433.80
Citibank                                  14700 Citicorp Dr, bldg 2 floor 1 , Hagerstown, MD 21742                   $90.04
TJ Maxx c/o GE CRB                        PO Box 530949, Atlanta, GA, 30353                                         $582.69
Wells Fargo Bank NA                       External Fraud Investigations, PO Box 912038, Denver, CO 80291-2038     $1,974.61
Synchrony Bank                            Attn: Fraud, PO Box 8726, Dayton, OH 45482-0278                          $104.95
Chase -- Amazon                           PO Box 17055, Wilmington, DE 19886-7055                                  $847.41
Chase Freedom                             PO Box 17055, Wilmington, DE 19886-7055                                 $1,127.20
Beck's Furniture                          11840 Folsom Blvd, Rancho Cordova, CA 95742                             $2,311.40

TOTAL:                                                                                                          $102,870.25

GRAND TOTAL For A‐1 and A‐2:                                                                                    $200,929.24
